Case 2:04-Cv-02976-.]PI\/|-tmp Document 19 Filed 05/23/05 Page 1 of 3 Page|D 21

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:N THE UNITED sTATEs DISTRICT cOURT '
FOR THE wESTERN DISTRICT OF TENNESSEE GSH&YZS PMIZ=|Z
wEsTERN DIVISION

 

 

DARRYL WILLIAMS,
Plaintiff,

V. NO. 04-2976 Ml/P

CITY OF MEMPHIS, et al.,

Defendants.

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ORDER SETTING TRIAL AND PRETRIAL DATES

 

Pursuant to Local Rule 72.l(f), a Rule 16(b) Scheduling Order
Was entered on April 25, 2005, by United States Magistrate Judge Tu
M. Pham. In accordance With the deadlines established in that
order, trial and pretrial dates are set as follows before the

District Court:

l. The jury trial in this matter, which is anticipated to
last two to three (2~3) days, is set to begin Mondayl
April 3, 2006 at 9:30 a.m. in courtroom no. 4.

2. A pretrial conference is set for Monday, March 27, 2006
at 9:00 a.m.

3. The joint pretrial order and proposed jury instructions

and voir dire questions are due by no later than 4:30

p.m. on May 20[ 2006.

This document entered on the docket§he£t in co:rjpiianca
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Absent good cause, the dates established by this order shall

not be extended or modified.

:T Is so ORDERED this § day of May, 2005.

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JO PHIPPS MCCALI_.A
TED S'I`ATES DISTRICT JUDGE

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:04-CV-02976 Was distributed by faX, mail, or direct printing on
May 23, 2005 to the parties listed.

ESSEE

 

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Honorable .1 on McCalla
US DISTRICT COURT

